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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                 8:14CR155
                     Plaintiff,               )
                                              )
       vs.                                    )                  ORDER
                                              )
DOROTEO MANUEL PONCE,                         )
                                              )
                     Defendant.               )
       This matter is before the court on the government’s motion to continue the trial of
this matter and for a Rule 17.1 conference (Filing No. 248). This matter was previously set
for trial for July 20, 2015 (Filing No. 223). The court will hold a telephone conference with
all counsel on the motion during the week of July 20, 2015. Plaintiff’s counsel shall arrange
and initiate the telephone conference. In the meantime, the trial of this matter scheduled
for July 20, 2015, is canceled.
       DATED this 17th day of July, 2015.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken

                                                  United States Magistrate Judge
